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  EXHIBIT 1




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                                         154
  Case 8:21-bk-11710-ES   Doc 105-1 Filed 06/01/22 Entered 06/01/22 09:54:17        Desc
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Branch :ORI,User :DDEL                 Comment:                                    Station Id :DMCL




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Document: DR 13618.982
                                         155
  Case 8:21-bk-11710-ES   Doc 105-1 Filed 06/01/22 Entered 06/01/22 09:54:17        Desc
                          Exhibit Part 2 of 2 Page 156 of 326
Branch :ORI,User :DDEL                 Comment:                                    Station Id :DMCL




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Document: DR 13618.982
                                         156
  Case 8:21-bk-11710-ES   Doc 105-1 Filed 06/01/22 Entered 06/01/22 09:54:17        Desc
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Branch :ORI,User :DDEL                 Comment:                                    Station Id :DMCL




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Document: DR 13618.982
                                         157
  Case 8:21-bk-11710-ES   Doc 105-1 Filed 06/01/22 Entered 06/01/22 09:54:17        Desc
                          Exhibit Part 2 of 2 Page 158 of 326
Branch :ORI,User :DDEL                 Comment:                                    Station Id :DMCL




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Document: DR 13618.982
                                         158
  Case 8:21-bk-11710-ES   Doc 105-1 Filed 06/01/22 Entered 06/01/22 09:54:17        Desc
                          Exhibit Part 2 of 2 Page 159 of 326
Branch :ORI,User :DDEL                 Comment:                                    Station Id :DMCL




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Document: DR 13618.982
                                         159
  Case 8:21-bk-11710-ES   Doc 105-1 Filed 06/01/22 Entered 06/01/22 09:54:17        Desc
                          Exhibit Part 2 of 2 Page 160 of 326
Branch :ORI,User :DDEL                 Comment:                                    Station Id :DMCL




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Document: DR 13618.982
                                         160
  Case 8:21-bk-11710-ES   Doc 105-1 Filed 06/01/22 Entered 06/01/22 09:54:17        Desc
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Branch :ORI,User :DDEL                 Comment:                                    Station Id :DMCL




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  Case 8:21-bk-11710-ES   Doc 105-1 Filed 06/01/22 Entered 06/01/22 09:54:17        Desc
                          Exhibit Part 2 of 2 Page 162 of 326
Branch :ORI,User :DDEL                 Comment:                                    Station Id :DMCL




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Document: DR 13618.982
                                         162
  Case 8:21-bk-11710-ES   Doc 105-1 Filed 06/01/22 Entered 06/01/22 09:54:17        Desc
                          Exhibit Part 2 of 2 Page 163 of 326
Branch :ORI,User :DDEL                 Comment:                                    Station Id :DMCL




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Document: DR 13618.982
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  Case 8:21-bk-11710-ES   Doc 105-1 Filed 06/01/22 Entered 06/01/22 09:54:17        Desc
                          Exhibit Part 2 of 2 Page 164 of 326
Branch :ORI,User :DDEL                 Comment:                                    Station Id :DMCL




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Document: DR 13618.982
                                         164
  Case 8:21-bk-11710-ES   Doc 105-1 Filed 06/01/22 Entered 06/01/22 09:54:17        Desc
                          Exhibit Part 2 of 2 Page 165 of 326
Branch :ORI,User :DDEL                 Comment:                                    Station Id :DMCL




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Document: DR 13618.982
                                         165
  Case 8:21-bk-11710-ES   Doc 105-1 Filed 06/01/22 Entered 06/01/22 09:54:17        Desc
                          Exhibit Part 2 of 2 Page 166 of 326
Branch :ORI,User :DDEL                 Comment:                                    Station Id :DMCL




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Document: DR 13618.982
                                         166
  Case 8:21-bk-11710-ES   Doc 105-1 Filed 06/01/22 Entered 06/01/22 09:54:17        Desc
                          Exhibit Part 2 of 2 Page 167 of 326
Branch :ORI,User :DDEL                 Comment:                                    Station Id :DMCL




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Document: DR 13618.982
                                         167
  Case 8:21-bk-11710-ES   Doc 105-1 Filed 06/01/22 Entered 06/01/22 09:54:17        Desc
                          Exhibit Part 2 of 2 Page 168 of 326
Branch :ORI,User :DDEL                 Comment:                                    Station Id :DMCL




ORANGE,CA                             Page 35 of 49           Printed on 8/29/2018 9:49:46 AM
Document: DR 13618.982
                                         168
  Case 8:21-bk-11710-ES   Doc 105-1 Filed 06/01/22 Entered 06/01/22 09:54:17        Desc
                          Exhibit Part 2 of 2 Page 169 of 326
Branch :ORI,User :DDEL                 Comment:                                    Station Id :DMCL




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Document: DR 13618.982
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  Case 8:21-bk-11710-ES   Doc 105-1 Filed 06/01/22 Entered 06/01/22 09:54:17        Desc
                          Exhibit Part 2 of 2 Page 170 of 326
Branch :ORI,User :DDEL                 Comment:                                    Station Id :DMCL




ORANGE,CA                             Page 37 of 49           Printed on 8/29/2018 9:49:48 AM
Document: DR 13618.982
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  Case 8:21-bk-11710-ES   Doc 105-1 Filed 06/01/22 Entered 06/01/22 09:54:17        Desc
                          Exhibit Part 2 of 2 Page 171 of 326
Branch :ORI,User :DDEL                 Comment:                                    Station Id :DMCL




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Document: DR 13618.982
                                         171
  Case 8:21-bk-11710-ES   Doc 105-1 Filed 06/01/22 Entered 06/01/22 09:54:17        Desc
                          Exhibit Part 2 of 2 Page 172 of 326
Branch :ORI,User :DDEL                 Comment:                                    Station Id :DMCL




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Document: DR 13618.982
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  Case 8:21-bk-11710-ES   Doc 105-1 Filed 06/01/22 Entered 06/01/22 09:54:17        Desc
                          Exhibit Part 2 of 2 Page 173 of 326
Branch :ORI,User :DDEL                 Comment:                                    Station Id :DMCL




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Document: DR 13618.982
                                         173
  Case 8:21-bk-11710-ES   Doc 105-1 Filed 06/01/22 Entered 06/01/22 09:54:17        Desc
                          Exhibit Part 2 of 2 Page 174 of 326
Branch :ORI,User :DDEL                 Comment:                                    Station Id :DMCL




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Document: DR 13618.982
                                         174
  Case 8:21-bk-11710-ES   Doc 105-1 Filed 06/01/22 Entered 06/01/22 09:54:17        Desc
                          Exhibit Part 2 of 2 Page 175 of 326
Branch :ORI,User :DDEL                 Comment:                                    Station Id :DMCL




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                                         175
  Case 8:21-bk-11710-ES   Doc 105-1 Filed 06/01/22 Entered 06/01/22 09:54:17        Desc
                          Exhibit Part 2 of 2 Page 176 of 326
Branch :ORI,User :DDEL                 Comment:                                    Station Id :DMCL




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Document: DR 13618.982
                                         176
  Case 8:21-bk-11710-ES   Doc 105-1 Filed 06/01/22 Entered 06/01/22 09:54:17        Desc
                          Exhibit Part 2 of 2 Page 177 of 326
Branch :ORI,User :DDEL                 Comment:                                    Station Id :DMCL




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Document: DR 13618.982
                                         177
  Case 8:21-bk-11710-ES   Doc 105-1 Filed 06/01/22 Entered 06/01/22 09:54:17        Desc
                          Exhibit Part 2 of 2 Page 178 of 326
Branch :ORI,User :DDEL                 Comment:                                    Station Id :DMCL




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Document: DR 13618.982
                                         178
  Case 8:21-bk-11710-ES   Doc 105-1 Filed 06/01/22 Entered 06/01/22 09:54:17        Desc
                          Exhibit Part 2 of 2 Page 179 of 326
Branch :ORI,User :DDEL                 Comment:                                    Station Id :DMCL




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Document: DR 13618.982
                                         179
  Case 8:21-bk-11710-ES   Doc 105-1 Filed 06/01/22 Entered 06/01/22 09:54:17        Desc
                          Exhibit Part 2 of 2 Page 180 of 326
Branch :ORI,User :DDEL                 Comment:                                    Station Id :DMCL




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  Case 8:21-bk-11710-ES   Doc 105-1 Filed 06/01/22 Entered 06/01/22 09:54:17        Desc
                          Exhibit Part 2 of 2 Page 181 of 326
Branch :ORI,User :DDEL                 Comment:                                    Station Id :DMCL




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                                         181
  Case 8:21-bk-11710-ES   Doc 105-1 Filed 06/01/22 Entered 06/01/22 09:54:17        Desc
                          Exhibit Part 2 of 2 Page 182 of 326
Branch :ORI,User :DDEL                 Comment:                                    Station Id :DMCL




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Document: DR 13618.982
                                         182
  Case 8:21-bk-11710-ES   Doc 105-1 Filed 06/01/22 Entered 06/01/22 09:54:17        Desc
                          Exhibit Part 2 of 2 Page 183 of 326
Branch :ORI,User :DDEL                 Comment:                                    Station Id :DMCL




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                                        183
  Case 8:21-bk-11710-ES   Doc 105-1 Filed 06/01/22 Entered 06/01/22 09:54:17        Desc
                          Exhibit Part 2 of 2 Page 184 of 326
Branch :ORI,User :DDEL                 Comment:                                    Station Id :DMCL




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  Case 8:21-bk-11710-ES   Doc 105-1 Filed 06/01/22 Entered 06/01/22 09:54:17        Desc
                          Exhibit Part 2 of 2 Page 185 of 326
Branch :ORI,User :DDEL                 Comment:                                    Station Id :DMCL




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                                        185
  Case 8:21-bk-11710-ES   Doc 105-1 Filed 06/01/22 Entered 06/01/22 09:54:17        Desc
                          Exhibit Part 2 of 2 Page 186 of 326
Branch :ORI,User :DDEL                 Comment:                                    Station Id :DMCL




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Document: DR 13690.1091
                                        186
  Case 8:21-bk-11710-ES   Doc 105-1 Filed 06/01/22 Entered 06/01/22 09:54:17        Desc
                          Exhibit Part 2 of 2 Page 187 of 326
Branch :ORI,User :DDEL                 Comment:                                    Station Id :DMCL




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Document: CO 13358.1193
                                         187
  Case 8:21-bk-11710-ES   Doc 105-1 Filed 06/01/22 Entered 06/01/22 09:54:17        Desc
                          Exhibit Part 2 of 2 Page 188 of 326
Branch :ORI,User :DDEL                 Comment:                                    Station Id :DMCL




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                                         188
  Case 8:21-bk-11710-ES   Doc 105-1 Filed 06/01/22 Entered 06/01/22 09:54:17        Desc
                          Exhibit Part 2 of 2 Page 189 of 326
Branch :ORI,User :DDEL                 Comment:                                    Station Id :DMCL




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                                         189
  Case 8:21-bk-11710-ES   Doc 105-1 Filed 06/01/22 Entered 06/01/22 09:54:17        Desc
                          Exhibit Part 2 of 2 Page 190 of 326
Branch :ORI,User :DDEL                 Comment:                                    Station Id :DMCL




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                                         190
  Case 8:21-bk-11710-ES   Doc 105-1 Filed 06/01/22 Entered 06/01/22 09:54:17        Desc
                          Exhibit Part 2 of 2 Page 191 of 326
Branch :ORI,User :DDEL                 Comment:                                    Station Id :DMCL




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                                         191
  Case 8:21-bk-11710-ES   Doc 105-1 Filed 06/01/22 Entered 06/01/22 09:54:17        Desc
                          Exhibit Part 2 of 2 Page 192 of 326
Branch :ORI,User :DDEL                 Comment:                                    Station Id :DMCL




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                                         192
  Case 8:21-bk-11710-ES   Doc 105-1 Filed 06/01/22 Entered 06/01/22 09:54:17        Desc
                          Exhibit Part 2 of 2 Page 193 of 326
Branch :ORI,User :DDEL                 Comment:                                    Station Id :DMCL




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                                         193
  Case 8:21-bk-11710-ES   Doc 105-1 Filed 06/01/22 Entered 06/01/22 09:54:17        Desc
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Branch :ORI,User :DDEL                 Comment:                                    Station Id :DMCL




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  Case 8:21-bk-11710-ES   Doc 105-1 Filed 06/01/22 Entered 06/01/22 09:54:17        Desc
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Branch :ORI,User :DDEL                 Comment:                                    Station Id :DMCL




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  Case 8:21-bk-11710-ES   Doc 105-1 Filed 06/01/22 Entered 06/01/22 09:54:17        Desc
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Branch :ORI,User :DDEL                 Comment:                                    Station Id :DMCL




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  Case 8:21-bk-11710-ES   Doc 105-1 Filed 06/01/22 Entered 06/01/22 09:54:17        Desc
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Branch :ORI,User :DDEL                 Comment:                                    Station Id :DMCL




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  Case 8:21-bk-11710-ES   Doc 105-1 Filed 06/01/22 Entered 06/01/22 09:54:17        Desc
                          Exhibit Part 2 of 2 Page 198 of 326
Branch :ORI,User :DDEL                 Comment:                                    Station Id :DMCL




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Document: CO 13358.1193
                                         198
  Case 8:21-bk-11710-ES   Doc 105-1 Filed 06/01/22 Entered 06/01/22 09:54:17        Desc
                          Exhibit Part 2 of 2 Page 199 of 326
Branch :ORI,User :DDEL                 Comment:                                    Station Id :DMCL




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  Case 8:21-bk-11710-ES   Doc 105-1 Filed 06/01/22 Entered 06/01/22 09:54:17        Desc
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Branch :ORI,User :DDEL                 Comment:                                    Station Id :DMCL




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  Case 8:21-bk-11710-ES   Doc 105-1 Filed 06/01/22 Entered 06/01/22 09:54:17        Desc
                          Exhibit Part 2 of 2 Page 201 of 326
Branch :ORI,User :DDEL                 Comment:                                    Station Id :DMCL




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  Case 8:21-bk-11710-ES   Doc 105-1 Filed 06/01/22 Entered 06/01/22 09:54:17        Desc
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Branch :ORI,User :DDEL                 Comment:                                    Station Id :DMCL




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  Case 8:21-bk-11710-ES   Doc 105-1 Filed 06/01/22 Entered 06/01/22 09:54:17        Desc
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Branch :ORI,User :DDEL                 Comment:                                    Station Id :DMCL




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  Case 8:21-bk-11710-ES   Doc 105-1 Filed 06/01/22 Entered 06/01/22 09:54:17        Desc
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Branch :ORI,User :DDEL                 Comment:                                    Station Id :DMCL




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  Case 8:21-bk-11710-ES   Doc 105-1 Filed 06/01/22 Entered 06/01/22 09:54:17        Desc
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Branch :ORI,User :DDEL                 Comment:                                    Station Id :DMCL




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  Case 8:21-bk-11710-ES   Doc 105-1 Filed 06/01/22 Entered 06/01/22 09:54:17        Desc
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Branch :ORI,User :DDEL                 Comment:                                    Station Id :DMCL




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                                         206
          Case 8:21-bk-11710-ES       Doc 105-1 Filed 06/01/22 Entered 06/01/22 09:54:17   Desc
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Description: Orange,CA Parcel Map 108.47 Page: 2 of 2   207
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               Case 8:21-bk-11710-ES
Tax Map - myFirstAm
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                                  Tax Map                                        16222 Monterey Ln #376, Huntington Beach, CA 92649




         Tax Map                                    16222 Monterey Ln #376, Huntington Beach, CA 92649
         This report is only for the myFirstAm user who applied for it. No one else can rely on it. As a myFirstAm user, you already agreed to our disclaimer
         regarding third party property information accuracy. You can view it here: www.myfirstam.com/Security/ShowEULA. ©2005-2019 First American
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BranchCase  8:21-bk-11710-ES
      :A14,User :2004          Doc 105-1 Comment:
                                            Filed 06/01/22 Entered 06/01/22 09:54:17Station
                                                                                         Desc
                                                                                            Id :M3Y7
                               Exhibit Part 2 of 2 Page 216 of 326




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Document: CA 13383.1868

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BranchCase  8:21-bk-11710-ES
      :A14,User :2004          Doc 105-1 Comment:
                                            Filed 06/01/22 Entered 06/01/22 09:54:17Station
                                                                                         Desc
                                                                                            Id :M3Y7
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BranchCase  8:21-bk-11710-ES
      :A14,User :2004          Doc 105-1 Comment:
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                            Recorded Document




                                 The Recorded Document images are displayed in the subsequent pages for the following request:



                                                                     State:                   CA
                                                                     County:                  Orange
                                                                     Document Type: Record of Survey - Book.Page
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                                   SUPERIOR COURT OF CALIFORNIA,
                                          COUNTY OF ORANGE
                                      CENTRAL JUSTICE CENTER
                                             MINUTE ORDER
D A T E : 03/02/2018                             TIM E: 08:30:00 AM       D E P T: C 33
JU DICIAL O F FIC E R P R E SIDIN G: James Crandall
C L E R K: Nga Q uach
R E P O R T E R/E RM: Amber N. Hogate C S R# 13525
B AILIF F/C O U R T A T T E N D A N T: None/Julie C arney

C A S E N O: 30-2017-00913985-CU-CO-CJC C A S E INIT.D A T E: 04/11/2017
C A S E TITL E : The Huntington Beach Gables Homeowners Association vs. Bradley
C A S E C A T E G O R Y: Civil - Unlimited C A S E T Y P E: C ontract - O ther

E V E N T ID/D O C UM E N T ID: 72743477
EVENT TYPE: Mandatory S ettlement C onference



APPEARANCES
P ejman D. Kharra zian, from E psten Grinnell & Howell, A P C , present for Cross - D efendant,Plaintiff(s).
Le e Gragano and Janine Jasso from The Huntington B e ach G ables Homeowners Association, Plaintiff,
present.
Brenda K. R admacher, from G ordon & R e es LLP, present for Cross - D efendant,Plaintiff(s).
 R aquel F lyer, from F lyer & Flyer, present for D efendant/Cross-C omplainant Jamie L. G allian.
Jamie L. G allian, D efendant/Cross-C omplainant is present.
The parties waive any objections to the trial judge conducting a settlement conference.

S ettlement conference is held. C ase is settled.

The terms of the settlement are recited in open court. E ach party indicates on the record that they
understand and agre e to the terms as stated.

This court retains jurisdiction to enforce the settlement.

The Order to Show C ause re: Dismissal on S ettled C ase is scheduled for 06/04/2018 at 08:30 AM in
D epartment C 33.
No appe arance is necessary if the full dismissal is filed by 06/04/2018.

All other future he aring dates are ordered vacated.




D A T E : 03/02/2018                                MIN U T E O R D E R                                P age 1
D E P T: C 33                                                                                    C alendar No.
                                                      305
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                                                                                                            FOR COURT USE ONLY
  SUPERIOR COURT OF CALIFORNIA, COUNTY OF ORANGE
 S T R E E T A D D R E S S: 700 W. Civic C enter D RIV E
 MAILIN G A D D R E S S: 700 W. Civic C enter Drive
 CIT Y A N D ZIP C O D E: S anta Ana, C A 92701
 B R A N C H N AM E: C entral Justice C enter


   S H O R T TITL E: The Huntington B e ach G ables Homeowners Association vs. Bradley

                                                                                              C A S E N UMB E R:
                        NOTICE OF REJECTION OF ELECTRONIC FILING
                                                                                              30-2017-00913985-C U-C O-C J C

         The electronic filing described by the summary data below was reviewed and rejected by the
         Superior C ourt of C alifornia, C ounty of Orange
         E-Filing Summary Data
         E lectronically Submitted By: Jamie G allian
         O n B ehalf of:
         Transaction Number:           3662908
         C ourt received D ate:        05/01/2018
         C ourt received Time:         05:00:02 PM
         Amount not to E xce ed:
         Documents Electronically Filed
         JAMIE _ F R A N K FIL E D3.2.18MS C H O A Transcript 2

         This electronic filing was rejected based on the following re ason(s):
         Reject Reason 1: other
                          Clerk's C omments to Submitter:
                          Must contain date of C onditional or unconditional settlement or
                          approximate date for which the R equest for Dismissal will be filed.
         E-Filing Service Provider Information
         N ame:            D D SLegal
         E mail:           efilingstatus @ ddslegal.com
         C ontact P erson: D D SLegal O C E F iling Support
         Phone:            7146625555




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                                SUPERIOR COURT OF CALIFORNIA,
                                    COUNTY OF ORANGE
                                  CENTRAL JUSTICE CENTER
                                          MINUTE ORDER
DATE: 06/04/2018                    TIME: 08:30:00 AM               DEPT: C33
JUDICIAL OFFICER PRESIDING: James Crandall
CLERK: P. Rief
REPORTER/ERM: Darci Mullarky CSR# 5569
BAILIFF/COURT ATTENDANT: Julie Carney

CASE NO: 30-2017-00913985-CU-CO-CJC CASE INIT.DATE: 04/11/2017
CASE TITLE: The Huntington Beach Gables Homeowners Association vs. Bradley
CASE CATEGORY: Civil - Unlimited  CASE TYPE: Contract - Other

EVENT ID/DOCUMENT ID: 72768738
EVENT TYPE: Order to Show Cause re: Dismissal on Settled Case


EVENT ID/DOCUMENT ID: 72793807
EVENT TYPE: Motion to Strike or Tax Costs
MOVING PARTY: Ted Phillips, Lindy Beck, Jennifer Paulin, Lee Gragnano, Janine Jasso, Lori Burrett
CAUSAL DOCUMENT/DATE FILED: Motion to Strike or Tax Costs, 02/28/2018

APPEARANCES
Pejman D. Kharrazian, Esq., from Epsten Grinnell & Howell, APC, present for Cross -
Defendant,Plaintiff(s).
Brenda K. Radmacher, Esq., from Gordon & Rees LLP, present for Cross - Defendant,Plaintiff(s).
Jamie L. Gallian, self represented Cross - Defendant, present.
Order to Show Cause re: Dismissal held. Extensive discussion held in open court as to the status of the
settlement. Upon the order of the court, the parties meet and confer. The case is not settled.
The motion by cross-defendants Lee Gragnano, Ted Phillips, Lindy Buck, Jennifer Paulin, Janine Jasso,
and Lori Burrett to strike the Memorandum of Costs filed by cross-complainant Jamie Gallian is
continued to 07/19/2018 at 08:30 AM in this department.
Jury Trial scheduled for 08/06/2018 at 08:30 AM in Department C33, if the matter is not resolved at the
hearing set for 07/19/2018.




DATE: 06/04/2018                              MINUTE ORDER                                     Page 1
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                                    SUPERIOR COURT OF CALIFORNIA,
                                           COUNTY OF ORANGE
                                       CENTRAL JUSTICE CENTER
                                               MINUTE ORDER
D A T E : 11/09/2018                              TIM E: 08:30:00 AM         D E P T: C 33
JU DICIAL O F FIC E R P R E SIDIN G: James Crandall
C L E R K: Eric Yu
R E P O R T E R/E RM: Janet (A C R P T) T aylor C S R# 9463
B AILIF F/C O U R T A T T E N D A N T: Julie C arney

C A S E N O: 30-2017-00913985-CU-CO-CJC C A S E INIT.D A T E: 04/11/2017
C A S E TITL E : The Huntington Beach Gables Homeowners Association vs. Bradley
C A S E C A T E G O R Y: Civil - Unlimited C A S E T Y P E: C ontract - O ther

E V E N T ID/D O C UM E N T ID: 72926149
EVENT TYPE: E x P arte
M O VIN G P A R T Y: The Huntington B e ach G ables Homeowners Association
C A U S AL D O C UM E N T/D A T E FIL E D: E x P arte Application - O ther, 11/07/2018

APPEARANCES
B R E N D A K. R A DMA C H E R, specially appe aring for G ordon & R e es LLP, present for Cross -
D efendant,Plaintiff(s).
P E JMA N D. K H A R R A ZIA N, specially appe aring for E psten Grinnell & Howell, A P C , present for Cross -
D efendant,Plaintiff(s).
Jamie L. G allian, self represented Cross - D efendant, present.
E x-P arte application for T E MP O R A R Y R E S T R AININ G O R D E R A N D O R D E R T O S H O W C A U S E F O R
P R E LIMIN A R Y IN U N C TIO N T O E NJ OIN DIS B U R S E M E N T S F R O M P R O C E E D S O F S AL E O F R E AL
P R O P E R T Y, O R ALT E R N A TIV E LY, F O R A N O R D E R R E Q UIRIN G G ALLIA N T O D E P O SIT A T L E A S T
$52,145.27 WIT H T H E C O U R T is requested by the Huntington B e ach G ables Homeowners Association
and Board members'.
E x parte application is re ad and considered.
The C ourt having fully considered the arguments of all parties, both written and oral, as well as the
evidence presented, now rules as follows:

E x P arte application for T emporary restraining order and order to show cause for preliminary inunction to
enjoin disbursements from proce eds of sale of re al property, or alternatively, for an order requiring
gallian to deposit at le ast $52,145.27 with the court is denied without prejudice.

E x-P arte application T O C O N TIN U E T RIAL is requested by Plaintiff.

E x parte application is re ad and considered.

The C ourt having fully considered the arguments of all parties, both written and oral, as well as the
evidence presented, now rules as follows:




D A T E : 11/09/2018                                MIN U T E O R D E R                                     P age 1
D E P T: C 33                                                                                         C alendar No.
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C A S E TITL E : The Huntington B e ach G ables             C A S E N O: 30-2017-00913985-CU-CO-CJC
Homeowners Association vs. Bradley

E X P A R T E A P PLIC A TIO N T O C O N TIN U E T RIAL is denied.




D A T E : 11/09/2018                                MIN U T E O R D E R                       P age 2
D E P T: C 33                                                                           C alendar No.
                                                       323
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                                    SUPERIOR COURT OF CALIFORNIA,
                                           COUNTY OF ORANGE
                                       CENTRAL JUSTICE CENTER
                                               MINUTE ORDER
D A T E : 11/16/2018                              TIM E: 08:30:00 AM        D E P T: C 33
JU DICIAL O F FIC E R P R E SIDIN G: James Crandall
C L E R K: P. Rief
R E P O R T E R/E RM: D arci Mullarky C S R# 5569
B AILIF F/C O U R T A T T E N D A N T: Julie C arney

C A S E N O: 30-2017-00913985-CU-CO-CJC C A S E INIT.D A T E: 04/11/2017
C A S E TITL E : The Huntington Beach Gables Homeowners Association vs. Bradley
C A S E C A T E G O R Y: Civil - Unlimited C A S E T Y P E: C ontract - O ther

E V E N T ID/D O C UM E N T ID: 72930711
EVENT TYPE: E x P arte
M O VIN G P A R T Y: The Huntington B e ach G ables Homeowners Association
C A U S AL D O C UM E N T/D A T E FIL E D: E x P arte Application - O ther, 11/15/2018

APPEARANCES
P ejman D. Kharra zian, E sq., from E psten Grinnell & Howell, A P C , present for Cross -
D efendant,Plaintiff(s).
Jamie L. G allian, self represented Cross - D efendant, present.
Steven A. F ink, E sq. in a limited scope representation.
E X P A R T E A P PLIC A TIO N B Y PLAIN TIF F T H E H U N TIN G T O N B E A C H G A BL E S H O M E O W N E R S
A S S O CIA TIO N F O R O R D E R S H O R T E NIN G TIM E R E (1) M O TIO N T O B E D E E M E D P R E V AILIN G
P A R T Y A N D (2) M O TIO N T O C O MP E L A N D F O R T E RMIN A TIN G S A N C TIO N S A G AIN S T JAMIE L.
G ALLIA N; A N D F O R A S T A Y O F T H E A C TIO N

H e aring held in open court. A discussion is held regarding the status of this matter and the court rules as
follows:
The Application by Plaintiff for an Order Shortening Time is granted.

T he Motion by Plaintiff The Huntington B e ach G ables Homeowners Association to be D e emed the
Prevailing P arty, F or an Award of Its Attorney’s F e es and C osts and F or Judgment on Its C omplaint, set
for 01/17/2018 is ordered advanced to the date of trial, 12/10/2018 at 9:00 a.m. in D epartment C 33.
The Motion by Plaintiff The Huntington B e ach G ables Homeowners Association to C ompel and for
T erminating S anctions or Issue/E vidence S anctions Against D efendant, and for Monetary S anctions, set
for 01/17/2018 is ordered advanced to the date of trial, 12/10/2018 at 9:00 a.m. in D epartment C 33.




D A T E : 11/16/2018                                MIN U T E O R D E R                                P age 1
D E P T: C 33                                                                                    C alendar No.
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                                   SUPERIOR COURT OF CALIFORNIA,
                                          COUNTY OF ORANGE
                                      CENTRAL JUSTICE CENTER
                                              MINUTE ORDER
D A T E : 12/06/2018                             TIM E: 01:30:00 PM       D E P T: C 33
JU DICIAL O F FIC E R P R E SIDIN G: James Crandall
C L E R K: P. Rief
R E P O R T E R/E RM: (A C R P T) C andace Khorouz an C S R# 11579
B AILIF F/C O U R T A T T E N D A N T: Nicole G uerrero

C A S E N O: 30-2017-00913985-CU-CO-CJC C A S E INIT.D A T E: 04/11/2017
C A S E TITL E : The Huntington Beach Gables Homeowners Association vs. Bradley
C A S E C A T E G O R Y: Civil - Unlimited C A S E T Y P E: C ontract - O ther

E V E N T ID/D O C UM E N T ID: 72902420
EVENT TYPE: Motion for Judgment on the Ple adings
M O VIN G P A R T Y: Jamie L. G allian
C A U S AL D O C UM E N T/D A T E FIL E D: Motion for Judgment on the Ple adings, 09/26/2018

APPEARANCES
P ejman D. Kharra zian, E sq., from E psten Grinnell & Howell, A P C , present for Cross -
D efendant,Plaintiff(s).
Jamie L. G allian, self represented Cross - D efendant, present telephonically.
M O TIO N B Y JAMIE L. G ALLIA N F O R JU D G M E N T O N T H E PL E A DIN G S

T entative Ruling posted on the Internet.
The court he ars oral argument. The court, having fully considered the arguments of all parties, both
written and oral, as well as the evidence presented, rules as follows: The T entative Ruling will become
the final ruling of the court.

The request for judicial notice by defendant Jamie L. G allian is granted as to the original complaint (E x.
1), the F irst Amended C omplaint (E x. 2), and the “C ertificate R e C ompliance with Civil C ode S ection
5950” (E x. 4). (E v. 452(d)(1).)
D efendant’s request for judicial notice is denied as to the letter attached as E x. 3.

The motion for judgment on the ple adings by defendant Jamie L. G allian is denied.

Moving party has not shown that the court has no jurisdiction of the subject of any cause of action
alleged by plaintiff, nor has she shown that the First Amended C omplaint fails to state facts sufficient to
constitute a cause of action against this moving defendant. (C C P 438(c)(1)(B); Leko v. C ornerstone
Building Inspection S ervice (2001) 86 C al.App.4th 1109, 1114 [like a demurrer, motion for judgment on
the ple adings lies only for defects apparent on the face of the ple ading or which are subject to judicial
notice, and the facts alleged in the ple ading are presumed true; extraneous evidence not properly
subject to judicial notice is not permitted].)




D A T E : 12/06/2018                               MIN U T E O R D E R                               P age 1
D E P T: C 33                                                                                  C alendar No.
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C A S E TITL E : The Huntington B e ach G ables             C A S E N O: 30-2017-00913985-CU-CO-CJC
Homeowners Association vs. Bradley

Moving party fails to show that the prelitigation alternative dispute resolution [A D R] requirements of Civil
C ode 5930 et seq. apply (se e Civil C ode 5930(b)); fails to show that any prelitigation A D R demand was
untimely; and fails to cite evidence or authority that moving party’s time to respond to any prelitigation
A D R demand (Civil C ode 5935(c)) only commences once she became a member.
Moving party’s other arguments go to the merits of plaintiff’s claims, and/or rely on extrinsic evidence not
properly subject to judicial notice, and thus are not appropriate for a motion for judgment on the
ple adings.

The court also notes that moving party failed to submit the declaration required by C C P 439.
Plaintiff The Huntington B e ach G ables Homeowners Association to give notice.

Houseke eping matters are addressed. D epartment C 33 is presently engaged in trial on an unrelated
matter. The court issues the following orders:

The Jury Trial set for 12/10/2018 in D epartment C 33 is vacated.
The Motion by Plaintiff The Huntington B e ach G ables Homeowners Association to be D e emed the
Prevailing P arty, F or an Award of Its Attorney’s F e es and C osts and F or Judgment on Its C omplaint, set
for 12/10/2018, is ordered continued to 01/31/2019 at 01:30 PM in this department.
The Motion by Plaintiff The Huntington B e ach G ables Homeowners Association to C ompel and for
T erminating S anctions or Issue/E vidence S anctions Against D efendant, and for Monetary S anctions, set
for 12/10/2018 is ordered continued to 01/31/2019 at 01:30 PM in this department.




D A T E : 12/06/2018                             MIN U T E O R D E R                                   P age 2
D E P T: C 33                                                                                    C alendar No.
                                                    326
